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EXHIBIT 1
(Verified Ancillary Petition)
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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

7 Case No. 23-cr-00239 (CKK)
ILYA LICHTENSTEIN, et al,,

Defendants.

VERIFIED PETITION FOR DETERMINATION OF
THIRD PARTY INTEREST IN PROPERTY PURSUANT TO 21 U.S.C. § 853(N)

Petitioner Charles Reed Venturella (“Petitioner” or “Mr. Venturella”), by his counsel
Davis+Gilbert LLP, having offices at 1675 Broadway, New York, New York 10019, submits this
verified petition pursuant to 21 U.S.C. § 853(n) and Fed. R. Crim. P. 32.2(¢) for an order
determining his interest in property that is subject to forfeiture under the Second Amended
Preliminary Order of Forfeiture, entered by this Court on November 14, 2024, ECF. No. 178 (the
“Preliminary Forfeiture Order”), and hereby states as follows:

PRELIMINARY STATEMENT

1. On or about August 2, 2016, after hacking into the systems of a Chinese-based
cryptocurrency exchange (the “Hack”), Defendants Ilya Lichtenstein and Heather Morgan stole
13.03662881 Bitcoin (the “Lost Assets”) from Mr. Venturella.

2. Defendants accomplished this theft by directly transferring the Lost Assets from
Mr. Venturella’s own Bitcoin wallets on a cryptocurrency exchange into Defendants’ virtual

wallet.

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3. For years, the Lost Assets sat in Defendants’ virtual wallet until the US.
Government, on or about February 1, 2022, seized the Lost Assets and other cryptocurrency
illegally obtained by Defendants.

4. Mr. Venturella now seeks return of his Lost Assets.

PROCEDURAL HISTORY

5. On February 7, 2022, Defendants were charged by criminal complaint with
violations of 18 U.S.C. § 1956(h) and 18 U.S.C. § 371. ECF. No 1. The complaint was superseded
by a criminal information filed by the U.S. Government on July 20, 2023 (the “Information”). See
ECF. No. 89.

6. On or about August 3, 2023, Defendants each pleaded guilty to one count of money
laundering conspiracy in violation of 18 U.S.C. § 1956(h) and Defendant Morgan also pleaded
guilty to one count of conspiracy to defraud the United States in violation of 18 U.S.C. § 371.

7. On August 3, 2023, the Court entered Consent Orders of Preliminary Forfeiture,
see ECF. No. 99, 104, and, on October 25, 2024, Amended Preliminary Orders of Forfeiture as to
each Defendant. See ECF. No. 153, 154.

8. On November 14, 2024, the Court entered the Second Amended Preliminary Order
of Forfeiture, ECF No. 178 (the “Second Amended Preliminary Forfeiture Order”), pursuant to
which, inter alia, Defendants forfeited to the U.S. Government their interest in certain property,
including “specific properties now listed in Amended Attachment A.” Jd. at 2. The attachment,
as amended and corrected, identifies in paragraph e. “approximately” 94,643.29837084 Bitcoin
(the “Recovered Bitcoin”) that were “seized from wallets recovered from Defendants’ online

storage account.” See ECF. No. 198-1 at 1. ‘

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9. On February 14, 2025, this Court entered an order setting February 18, 2025, as the
final deadline for any person intending to assert an interest in any of the properties subject to
forfeiture to file an Ancillary Proceeding. See ECF. No. 250 at 2-3.

RELEVANT FACTS

10. Mr. Venturella is the owner of the Lost Assets, which can be directly traced from
Mr. Venturella’s multi-signature Bitcoin wallets to the Defendants’ Bitcoin wallet, the contents of
which were seized by the U.S. Government.

11. | Mr. Venturella was a customer of Bitfinex, an online cryptocurrency platform
headquartered in Hong Kong. To transact business on the platform, customers of Bitfinex were
each provided with her/his own “multi-signature wallets” into which, inter alia, the customer could
deposit his or her Bitcoin for purposes of buying, selling, trading and/or engaging in other financial
transactions on the platform.

12. The Bitcoin in these multi-signature wallets belonged solely and exclusively to the
respective customer. At the time of the Defendants’ Hack, section 5.1 of Bitfinex’s Terms of
Service stated that “all bitcoins in your Multi-Signature Wallets belong to and are owned by you
[the customer].” See Bitfinex, Terms of Service (June 9, 2016) (as preserved by Internet Archive);
Can Bitfinex Really Impose a $72 Million Theft on Its Customers?, Fortune, (Aug. 15, 2016),

https://fortune.com/2016/08/15/bitfinex-bitcoin-hack-hong-kong-customers-law/ (last accessed:

January 15, 2025) (quoting Bitfinex’s terms of service).

13.  Bitfinex championed its use of individual customer-owned wallets in its marketing
materials and to the U.S. Commodities Futures Trading Commission (“CFTC”) during the CFTC’s
2015-16 investigation into Bitfinex’s practices. See, e.g., Business Wire, Bitfinex and BitGo

Partner to Create World’s First Real-Time Proof of Reserve Bitcoin Exchange, (June 3, 2015),

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available at https://www.businesswire.com/news/home/20150603005462/en/ Bitfinexand-BitGo-

Partner-to-Create- World%E2%80%99s-First-Real-Time-Proof-of-Reserve-Bitcoin-Exchange
(“Bitfinex ... for the first time ever offers complete segregation of all custome bitcoins”; quoting
Bitfinex’s statement that “[t]he era of commingling customer Bitcoin and all of the associated
security exposures is over”) (last accessed: January 15, 2025).

14. In its order imposing sanctions on Bitfinex on June 2, 2016—mere months before
the Hack—the CFTC found that Bitfinex abandoned its prior approach of using an “omnibus
settlement wallet” that was “owned and controlled by Bitfinex” and, instead, in 2015 and January
2016, made changes to its infrastructure such that “bitcoins purchased using both the Exchange
Trading and Margin Trading features [on Bitfinex] were held in individually enumerated, multi-
signature wallets” for each trader. Order Instituting Proceedings Pursuant to Sections 6(c) and
6(d) of the Commodity Exchange Act, as Amended, Making Findings and Imposing Remedial
Sanctions, CFTC Docket No. 16-19, at 3 (June 2, 2016).

15.  Inother words, the Bitcoin held in a customer’s segregated multi-signature wallets
on the Bitfinex platform rightly belonged to the customer only.

A. Ownership of the Lost Assets

16. Prior to the Hack, Mr. Venturella had 13.03662881 Bitcoin deposited into the
segregated multi-signature wallets associated with his Bitfinex account (FeeKREK EW YI and
a4 EGHN) (together with all related “change” addresses (including, without limitation,
##******GGhHn), collectively, “Mr. Venturella’s Wallets”).

17. In August 2016, as part of the Hack, the Defendants transferred these Bitcoin—i.e.,

the Lost Assets—from Mr. Venturella’s Wallets directly to Bitcoin wallet address ********jjpGr

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(the “Specified Defendants’ Bitcoin Address”) (txid ********dbc2), which was among the
hundreds or thousands employed by the Defendants during the Hack.
‘18. Upon information and belief, the Lost Assets remained in the Specified Defendants’
Bitcoin Address until the U.S. Government seized them. See, e.g., Complaint {if 6, 7(a).
B. The Recovered Bitcoin

19. The U.S. Government has now seized more than 94,643.29837084 Bitcoin from the
Defendants. See Corrected and Amended Attachment A to the Second Amended Preliminary
Forfeiture Order, at 1, 5-1 L. In connection with that seizure, on or about February 1, 2022, the
U.S. Government transferred all of the contents of the Specified Defendants’ Bitcoin Address,
including upon information and belief the Lost Assets, to a virtual currency wallet controlled by
the U.S. Government (Gee eee Wet txid ee ef ef eR A HRD SDS)

20. The Lost Assets are thus part of the Recovered Bitcoin.

RELIEF SOUGHT

21. As owner, Mr. Venturella has right, title and interest in and to the Lost Assets,
which is specific property that can be identified as having been taken from Mr. Venturella’s
Wallets, transferred directly to the Specified Defendants’ Bitcoin Address and then seized by the
U.S. Government.

22. Mr. Venturella’s ownership interest in the Lost Assets existed prior to the acts
which gave rise to Defendants’ forfeiture and is superior to any right of the Defendants (and the
U.S. Government) in the Lost Assets.

23. The U.S. Government has not returned to Mr. Venturella the Lost Assets, which,
as patt of the Recovered Bitcoin, remain subject to forfeiture under the Second Amended

Preliminary Forfeiture Order.

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24, Mr. Venturella therefore seeks to assert his ownership interest in, and obtain prompt
return of, the Lost Assets and all corresponding fork coins (e.g., Bitcoin Cash, Bitcoin Gold,
Bitcoin SV, etc.) that were derived from the Lost Assets, an order declaring that Petitioner
possesses the right, title and interest to such assets superior to the U.S. Government and any and

all other petitioners, and awarding such other and/or further relief as the Court deems just and

proper.

Dated: February 19, 2025
. GREENSTEIN DELORME & LUCHS, P.C.

By: /sJames D. Sadowski

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VERIFICATION
C. Reed Venturella, being duly, sworn deposes and says:

| am the Petition in this Ancillary Proceeding; | have read the foregoing Verified Petition and
know the contents thereof; and the same is true to my own knowledge, except as to those
matters therein stated to be alleged upon information and belief, and as to those matters |

believe them to be true. i

C. Reed Venturella

sworn to before me this
\S day of February 2025

TENNESSEE
NOTARY /?
PUBLIC / >
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{Verification - Ancillary Petition]

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